                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,
               Plaintiff,

       v.                                               Case No. 03-CR-194

TERRONCE GARDNER
             Defendant.


                                 DECISION AND ORDER

       Defendant Terronce Gardner seeks early termination of his supervised release. The

government objects the request.

                                             I.

       On February 22, 2005, defendant pleaded guilty to conspiracy to distribute 500

grams or more of cocaine, and on October 4, 2005, I sentenced to him to 84 months’

imprisonment followed by 5 years of supervised release. He was released from prison and

commenced supervision on August 21, 2009.

       On December 23, 2010, the probation office petitioned the court to issue a warrant

for defendant’s arrest based on alleged violations. Specifically, the petition indicated that

on December 23, 2010, Milwaukee police officers arrested defendant after observing a

firearm in the vehicle he was driving. I issued the warrant, and on December 28, 2010,

defendant appeared before a magistrate judge and was detained. At a January 5, 2011,

preliminary hearing, the magistrate judge found probable cause that defendant violated his

conditions and entered an order of detention pending the final revocation hearing. I later

allowed defendant to be released and continued the revocation proceeding. No charges



   Case 2:03-cr-00194-LA       Filed 10/12/12     Page 1 of 4    Document 824
were filed related to the firearm, and on June 22, 2011, I continued defendant on

supervised release.

       On September 11, 2012, defendant filed a letter requesting early discharge from

supervised release. In the letter, he stated that since his release from prison he had

maintained a clean and clear lifestyle. He indicated that he had gotten into the business

of purchasing and renovating foreclosed homes, which he then rented out to low income

families. He further indicated that he had started his own promotion company, bringing

singers, comedians, and other performers to Milwaukee. He requested early termination

so that he could leave the state of Wisconsin to work as a promoter and to pursue a career

as a professional boxer. He indicated that his business activities had been a very positive

experience, and that early discharge would allow him to work towards his full potential in

becoming a professional boxer and successful promoter.

                                             II.

       The district court may grant early termination of supervised release if: (1) the

defendant has served at least one year of supervision; (2) the government is given notice

and an opportunity to be heard; and (3) termination is in the interest of justice based on the

defendant’s conduct and the pertinent sentencing factors under 18 U.S.C. § 3553(a). See

18 U.S.C. § 3583(e)(1); United States v. Medina, 17 F. Supp. 2d 245, 245-46 (S.D.N.Y.

1998). The district court possesses wide discretion in determining whether the interests

of justice would be served by terminating supervision early. See United States v. Hook,

471 F.3d 766, 771 (7th Cir. 2006). However, courts have generally held that the conduct

of the defendant sufficient to warrant such action must include more than simply following

the rules of supervision; otherwise, every defendant who avoided revocation would be

eligible for early termination. Instead, courts have generally granted early termination only

                                             2
   Case 2:03-cr-00194-LA       Filed 10/12/12      Page 2 of 4   Document 824
in cases involving some new or unforeseen circumstance, which may include exceptionally

good behavior, or where supervision impedes rather than facilitates rehabilitation. See,

e.g., United States v. Kay, 283 Fed. Appx. 944, 946-47 (3d Cir. 2008); United States v.

Lussier, 104 F.3d 32, 36 (2d Cir. 1997); Folks v. United States, 733 F. Supp. 2d 649, 651-

52 (M.D.N.C. 2010); Medina, 17 F. Supp. 2d at 246-47. The defendant bears the burden

of demonstrating that early termination of supervision is justified. See United States v.

Weber, 451 F.3d 552, 559 n.9 (9th Cir. 2006) (citing United States v. Weintraub, 371 F.

Supp. 2d 164, 167 (D. Conn. 2005); United States v. McKay, 352 F. Supp. 2d 359, 361

(E.D.N.Y. 2005)).

                                             III.

       Defendant fails to justify his request. Working and following the rules does not by

itself suffice, see, e.g., United States v. Thomas, No. 1:07-CR-72, 2012 WL 3870523, at

*2 (N.D. Ind. Sept. 6, 2012) (“The Court expects those on supervised release to work and

to follow the rules of supervision.”), and he makes no showing of exceptionally good

behavior. Defendant references opportunities to travel in furtherance of his promotion

business and/or boxing career, but he does not allege that his probation officer has refused

any requests to leave the district. (Judgment at 3, standard condition 1 – “the defendant

shall not leave the judicial district without permission of the court or probation officer”.)

There is no evidence that supervision impedes defendant’s employment or other

rehabilitative efforts, and he presents no other new or unforeseen circumstances justifying

early termination.1


       1
       In its response to the motion, the government indicates that, according to the
probation office, defendant’s performance has been less than stellar. Specifically, the
government references questionable employment, noise complaints at defendant’s
residence, and possible liquor/tavern violations (in addition to the December 2010 firearm

                                             3
   Case 2:03-cr-00194-LA       Filed 10/12/12       Page 3 of 4   Document 824
       Nor do the relevant § 3553(a) factors support early termination. Defendant seems

to be doing better recently, but he does have a significant prior record, including convictions

for carrying a concealed weapon, recklessly endangering safety, and felon in possession

of a firearm. He does not appear to have significant ongoing correctional treatment needs

or unsatisfied financial obligations, but further monitoring and the structure associated with

supervision are warranted to protect the public and deter any future violations of the law.

                                              IV.

       THEREFORE, IT IS ORDERED that defendant’s request for early termination is

DENIED.

       Dated at Milwaukee, Wisconsin, this 12th day of October, 2012.

                                           /s Lynn Adelman
                                           ________________________________________
                                           LYNN ADELMAN
                                           District Judge




arrest). In his reply letter, defendant disputes some of these claims and discusses his
employment efforts. I need not make any findings regarding these allegations; it suffices to
say that defendant has not sustained his burden of demonstrating exceptionally good
behavior or some other basis for early termination.

                                              4
   Case 2:03-cr-00194-LA        Filed 10/12/12      Page 4 of 4   Document 824
